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                   IN THE UNITED STATES DISTRICT COURT' FOR:                               'q]v/ '
                         THE SOUTHERN DISTRICT OF GEORGIA                                "
                                        SAVANNAH DIVISION                              10 AK 10= ^3

UNITED STATES OF AMERICA
                                                                       illKM
                                                                              SD.DiST. OF GA.
V.

                                                                CASE NO,          CR404-305
DAVID PAUL BAKER,


        Defendant.




                                         ORDER


        Before     the       Court      is     Defendant            David    Paul       Baker's


Request     for    Holloway          Relief.        (Doc.      40.)    For    the       reasons

that follow, the motion is DENIED.

        In his motion, Defendant requests that this Court and

the    United     States       Attorney for              the    Southern       District        of

Georgia     Bobby       L.    Christine        consider         vacating          Defendant's

conviction        under       18      U.S.C.        §    924(c)       and     resentencing

Defendant,        (Doc.      40    at    3.)   Defendant            appears       to    rely   on

United     States       v.    Holloway,        68       F.   Supp.    3d    310        (E.D.N.Y,

2014). The Government opposes the motion. (Doc. 42.)

        Defendant's          motion     must    be      denied.       As    the    Government


correctly       points        out,      this    Court          is    unable       to     provide

Defendant        with     the      relief       he       seeks.       In    Holloway,          the

defendant was convicted of three armed carjackings and, as

a result, was sentenced to a total prison term of over 57

years due to the "stacking" of convictions pursuant to 18
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U.S.C. § 924(c).        68   F.    Supp.    3d     at    312.      The    sentencing

judge, well after Holloway exhausted his appeals, issued an

order    requesting    the    United     States         Attorney     to     consider

exercising her discretion to agree to an order vacating two

or more of Holloway's 18 U.S.C. § 924(c) convictions due to

the severity of the sentence. Id. at 314. The United States

Attorney ultimately agreed and two of Holloway's 18 U.S.C.

§   924(c)     convictions        were     vacated.          Id.    The     sentence

reduction      in     Holloway      "depended           entirely          upon   the

acquiescence    of the       Government, i.e., by and through the

prosecutorial       prerogative     of     the    Department        of     Justice."

United    States v.    Brewer, No.       CR      696-004, 2017           WL 1407651,

at *1 (S.D. Ga. Apr. 19, 2017). Here, the Government has

explicitly stated that it "does                  not consent to            any such

relief    in   Baker's   case."      (Doc.        42    at    2.)    Accordingly,

Defendant's motion is DENIED.


        SO ORDERED this z^^day of July 2019.




                                  WILLIAM T. MOORE, VR.
                                  UNITED STATES DISTRICT             COURT
                                  SOUTHERN       DISTRICT OF GEORGIA
